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                                          IN THE
                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT
                                  ______________________
                                      Nos. 18-4875(L), 18-4876
                                 18-4877, 19-4269, 19-4287, 19-4345
                                     ______________________

                                  UNITED STATES OF AMERICA,

                                       Appellant/Cross-Appellee,

                                                      v.

                                     ANTONIO SIMMONS ET AL.,

                                       Appellees/Cross-Appellants.
                                     ________________________
                           On Appeal from the United States District Court
                                for the Eastern District of Virginia
                                ________________________

                                 BRIEF OF THE UNITED STATES
                                 ________________________


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                               JURISDICTIONAL STATEMENT 1

             This is a consolidated government appeal and a related, consolidated cross-

       appeal from final judgments in a criminal case. The district court (Davis, C.J.) had

       jurisdiction under 18 U.S.C. § 3231. A jury convicted Defendants Simmons, Mitchell,

       and Lassiter on all counts on March 22, 2018. On November 16, 2018, on Defendants’

       post-trial motion, the district court set aside the jury’s verdict as to one count. The

       government filed a timely notice of appeal on November 29, 2018. Defendants were

       sentenced on the remaining counts on April 12, 2019 (Mitchell), April 25, 2019

       (Lassiter), and May 10, 2019 (Simmons), and all three filed timely notices of appeal.

       This Court has jurisdiction under 28 U.S.C. § 1291 and 18 U.S.C. § 3731.

                                 STATEMENT OF THE ISSUE

             Whether a conviction for conspiracy to commit a violation of the Racketeer

       Influenced and Corrupt Organizations Act (RICO), 18 U.S.C. § 1962(d), qualifies as a

       “crime of violence” under 18 U.S.C. § 924(c)(3)(A), where the government charged,

       and the jury found, that Defendants Simmons and Mitchell committed murder as part

       of the RICO conspiracy, which raised the statutory maximum sentence under 18

       U.S.C. § 1963(a).




       1
        Citations are to the parties’ Joint Appendix (“JA”) and docket entries (“Docket No.”)
       in Case 2:16-cr-130-MSD-LRL (E.D. Va.).

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                                    STATEMENT OF THE CASE

             This case is about a Hampton Roads “line” of the Nine Trey Gangsters, a

       brutally violent street gang that is a subset of the United Blood Nation. The three

       Defendants, along with two other members of the gang, went on a violent crime spree

       in December 2015. During this period, they murdered five people—most of them

       women who had nothing to do with the gang—shot and nearly killed four more people,

       shot at potential witnesses, embarked upon a mission to kill rival Nine Trey members,

       committed and attempted to commit robberies, and trafficked drugs throughout the

       Norfolk area. The crime spree ended when law enforcement arrested Mitchell and

       another gang member fleeing from a robbery; guns, bullets, bullet casings, and

       cellphones seized from that arrest allowed law enforcement to connect Mitchell and

       his co-conspirators to the other crimes.

             Following a jury trial in the United States District Court for the Eastern District

       of Virginia, Defendants Simmons, Mitchell, and Lassiter were convicted of RICO

       conspiracy, in violation of 18 U.S.C. § 1962(d) (Count 1). Each defendant was also

       convicted of other gang-related crimes. Simmons was convicted of murder in aid of

       racketeering, in violation of 18 U.S.C. § 1959(a) (Counts 3, 5); use of a firearm

       resulting in death, in violation of 18 U.S.C. § 924(j) (Counts 4, 6); attempted murder

       in aid of racketeering, in violation of 18 U.S.C. § 1959(a)(5) (Counts 7, 22, 24, 26);

       assault with a dangerous weapon in aid of racketeering, in violation of 18 U.S.C.



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       § 1959(a)(3) (Counts 8, 27, 29); use or discharge of a firearm in furtherance of a crime

       of violence, in violation of 18 U.S.C. § 924(c) (Counts 9, 23, 25, 28); drug trafficking

       and substantive drug offenses, in violation of 21 U.S.C. §§ 841 and 846 (Counts 2, 31–

       33, 35); use of a firearm in furtherance of a drug trafficking crime, in violation of 18

       U.S.C. § 924(c) (Counts 34, 36); and being a felon in possession of a firearm, in

       violation of 18 U.S.C. § 922(g) (Count 37). Mitchell was convicted of murder in aid

       of racketeering, in violation of 18 U.S.C. § 1959(a) (Counts 5, 10, 11, 20); use of a

       firearm resulting in death, in violation of 18 U.S.C. § 924(j) (Counts 6, 12, 13, 21);

       attempted murder in aid of racketeering, in violation of 18 U.S.C. § 1959(a)(5) (Counts

       7, 14, 17, 22, 24, 26); assault with a dangerous weapon in aid of racketeering, in

       violation of 18 U.S.C. § 1959(a)(3) (Counts 8, 15, 18, 27, 29); and use or discharge of

       a firearm in furtherance of a crime of violence, in violation of 18 U.S.C. § 924(c)

       (Counts 9, 16, 19, 23, 25, 28). Lassiter was convicted of attempted murder in aid of

       racketeering, in violation of 18 U.S.C. § 1959(a)(5) (Counts 22, 24, 26); assault with

       a dangerous weapon in aid of racketeering, in violation of 18 U.S.C. § 1959(a)(3)

       (Counts 27, 29); and use or discharge of a firearm in furtherance of a crime of violence,

       in violation of 18 U.S.C. § 924(c) (Counts 23, 25, 28,). The jury also found Defendants

       guilty of discharging a firearm in furtherance of a crime of violence, in violation of 18

       U.S.C. § 924(c) (Count 30), but the district court granted a post-trial motion to set aside

       the verdict as to that count. The court sentenced Simmons to three consecutive life



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       sentences plus 40 years in prison; Mitchell was sentenced to five consecutive life

       sentences plus 50 years in prison; and Lassiter was sentenced to 35 years in prison.

       The court also imposed five years of supervised release on each Defendant.

       I.    Statement of Facts2

             Over a few weeks in December, 2015, the three Defendants, along with two

       other gang members charged in the same case who pleaded guilty before trial, engaged

       in a brutal crime spree across the Hampton Roads area on behalf of their gang, the

       Nine Trey Gangsters. Antonio Simmons, also known as Murdock or Doc, was the

       leader of the Nine Trey Hampton Roads line; Nathaniel Mitchell, also known as

       Savage, was one of two primary Nine Trey shooters; and Malek Lassiter was a new

       recruit. Lassiter was brought into the gang by his cousin, Anthony Foye, the other

       primary Nine Trey shooter. Foye was charged in the same case, pleaded guilty to four

       counts of VICAR murder in return for the government’s agreement not to seek the

       death penalty, and was sentenced to life imprisonment. 3 Alvaughn Davis was a Nine

       Trey member from North Carolina who reported to Simmons’ line upon his arrival in

       the area. Davis pleaded guilty and entered into a cooperation agreement with the


       2
        The government has set forth the facts in more detail than necessary to resolve the
       government’s claim on this appeal because the government expects that Defendants
       will raise numerous claims, including claims as to the sufficiency of the evidence, in
       their principal brief on cross-appeal.
       3
        This Court affirmed his conviction. See United States v. Foye, 752 Fed. Appx. 166
       (4th Cir. 2019).

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       government. Docket Nos. 86–88.4 At the end of the crime spree, five people were

       dead and four others narrowly survived nearly point-blank shootings. In all, members

       of the gang carried out five murders, six attempted murders, a shooting at multiple

       witnesses who saw Mitchell, Lassiter, and Foye run from the scene of their final

       attempted murder, multiple Hobbs Act robberies or attempted robberies, and drug

       trafficking.

             The crime spree ended on December 27, 2015, when Mitchell and Foye were

       arrested while fleeing from a Shell gas station they had robbed at gunpoint. Their

       arrests provided the keys to solving the earlier shootings. Law enforcement seized two

       cellphones, a Glock .40 handgun and a magazine with .40 bullets, a spent .380-caliber

       casing, and a .38 special Ruger revolver containing three spent cartridge casings

       (indicating that three shots had been fired). A cellphone was later seized from

       Simmons when he was arrested in March 2018. The cellphones contained text

       messages connecting the men to the different shootings and to each other. Ballistics

       analysis showed that one or both of the seized Glock .40 and the same .380 caliber

       semi-automatic—which was not recovered, but which left matching bullets and shell

       casings at numerous crime scenes—were used in each of the charged shootings. See

       JA 6069–70. Multiple witnesses, including other Nine Trey members and associates,


       4
        Davis pleaded guilty to RICO conspiracy, accessory-after-the-fact to one of the
       VICAR murders, and using a firearm resulting in death in connection with another
       murder. Docket Nos. 86–88.

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       testified that Foye used the Glock .40 and Mitchell used the .380 to commit the

       shootings. One witness testified that Lassiter possessed, and used, the .38 revolver to

       shoot in the direction of eyewitnesses to their final attempted murder. One surviving

       shooting victim identified Mitchell as her assailant.

             A. Nine Trey Gangsters

                    1. The RICO Enterprise

             The Nine Trey Gangsters, an East Coast-based Bloods gang allied with the

       United Blood Nation, was founded in Rikers Island Prison in 1993. JA 1628–29, 1856,

       3996. Nine Trey was the “first of [the] original Eastside set” of the Bloods. JA 3998.

       Nine Trey has an established hierarchy, a recorded official “world wide line-up” of

       leaders, rules (referred to as “Alpo” or “po,” in reference to a brand of dog food), and

       a coded language designed to thwart law enforcement. See, e.g., JA 1642–44, 1882–

       83, 3996–4000, 5774–812, 5823–31, 5910–46.5 Bloods members often substitute the

       letter “b,” “k,” or “x” for the letter “c” when writing or texting, because the letter “c”

       is associated with their rival gang, the Crips. JA 1643–44, 1725, 1870. For example,

       Nine Trey members usually do not say the word “crazy”; the gang-appropriate word

       is “brazy.” JA 1643, 1725, 2165, 4515. Members have common call-and-response

       phrases used to signify and test membership, such as “Eastside/all the time.” JA 1883–


       5
        A copy of key Nine Trey documents was extracted from Mitchell’s cell phone.
       JA 5836–5948, 1645. Other documents were seized from Mitchell’s home. JA 1583,
       5772–5812.

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       84. The gang also has coded “breakdowns” for different words (for example, “Bloods

       United Live Longer Stronger” for the word “Bulls,” and “Better Look Out or Die” for

       “Blood”). JA 1679, 3582, 4026–27.6

             The leader of Nine Trey is called the Godfather; in 2015, the Godfather was

       Pedro Gutierrez, aka “Magoo.” JA 1632–33, 1859–60, 1884, 3999–4001, 5779.

       Under the Godfather, the management ranks, in descending order, are: (1) the High or

       High-020; (2) the Low or Low-020 or Inner City Hoodlum; and (3) the Five-Star

       General or “Street Sweeper.” JA 1632–33, 1860–62, 5922–23. The Five-Star General

       was supposed to be “rarely seen” in order to protect the gang’s leadership. JA 1692,

       1864–65, 1921, 3750, 5922. The hierarchy continues with Four-Star, Three-Star, Two-

       Star, and One-Star generals, all with specific responsibilities, and then “soldiers.”

       JA 1631–33, 5922–23. At the bottom of the hierarchy are the “scraps,” new recruits

       attempting to gain status. 7 JA 1631–32, 3745, 4153.

             Nine Trey members are required to “breed,” or recruit new scraps for the gang,

       often from family members. JA 1628–29, 1666, 1686, 1856, 3747, 4004. Scraps can

       “make their way home” (i.e., join the gang) by “putting in work” (i.e., committing




       6
        The bull is a common Nine Trey symbol and is often displayed by members wearing
       a Chicago Bulls hat. JA 4026. One of Foye’s street names was “Bulls.” JA 3940.
       7
        Nine Trey members also use the term “scrap” to refer to any gang member ranked
       below them. See, e.g., JA 2096, 6080, 6209.


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       crimes or acts of violence). JA 4004–05; see also JA 3579, 3746–47. Similarly,

       ranked members maintain or increase their status in the gang by “putting in work.”

       JA 1634, 1673, 1923–24, 2969, 3590. Members are disciplined, including by violence,

       if they violate any of the gang’s rules. JA 1628, 1672–75, 5919–21.

             Nine Trey members recognize each other through the codes, calls and responses

       noted above, as well as by their knowledge of the rules. JA 1654–55, 1704. The gang

       also has a “dress code,” often wearing red clothing and “flagging” with a red bandana

       to signify membership. JA 613, 1898, 4006, 5656, 5715. Gang-specific tattoos also

       identify gang members. Foye and Lassiter, for example, both have “Eastside” tattoos

       on their hands; Mitchell has a branded “dog paw” on his shoulder, and Simmons has a

       tattoo that includes a signifier for “Member of Blood.” JA 1670–71, 1900, 1975–76,

       5066. Gang members also use specific hand signals to show their affiliation with the

       gang. JA 1680–81, 1900–01, 2108–11, 4028–30.

             In addition to maintaining or gaining status within the gang, Nine Trey members

       commit crimes to earn money for the enterprise, which is referred to within the gang

       as “baby luv.” See, e.g., JA 1637, 3752, 4040. Drug trafficking and robbery are two

       common sources of funds. JA 562, 1887, 3747, 6124–25, 6129. Portions of drug

       proceeds are sent up the chain of command. JA 1741, 1887. Members are required to

       pay $31 a month in dues to the “kitty,” a general fund remitted to higher-ranking Nine

       Trey members to support incarcerated members, buy drugs for resale, and purchase



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       weapons, among other uses. JA 1636–38, 1700, 1875–76, 5919. The Five-Star

       General normally collects the kitty money; if he were to “mess up” the dues, he would

       have to repay them, as dipping into the “kitty” is seen as stealing from the gang.

       JA 1638, 1641.

             Two concepts are key for Nine Trey—respect and allegiance. Respect is “the

       biggest rule” for Nine Trey members, JA 1634; “respect is everything,” JA 1894. If a

       Nine Trey member is disrespected by someone, the member is required to “make them

       respect you again.” JA 1675. Disrespect takes many forms. JA 1635, 1894–95.

       Spilling a drink on a Nine Trey member is disrespectful. JA 1895. Pulling a gun on a

       member is disrespectful, and the gang member is required to pull his own “gun out on

       him and use the gun” in retaliation. JA 1635. If the Nine Trey member cannot reach

       the disrespectful person, he is required to “[g]et the closest one to them.” JA 1635.

       There are no “personal beefs” in Nine Trey; disrespect to one member is considered

       an insult to all, and the Nine Trey member is expected to respond with violence or risk

       losing respect and position within the gang. JA 1635, 1896. Disrespecting a Nine

       Trey member normally results in violence or death. See, e.g., JA 1896.

             Allegiance to fellow gang members and adherence to the chain of command are

       similarly important, and following orders increases a member’s status in the gang.

       JA 1632, 1684–89. Failure to follow orders could result in disciplinary actions or

       being “dubbed” (i.e., being expelled from the gang). JA 1641–42, 1644. “Snitches,”



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       or anyone cooperating with law enforcement, can be killed, regardless of whether they

       are a gang member. JA 1640–41.

             Disrespecting fellow Nine Trey members—a violation of both core concepts—

       is particularly egregious. One source of tension within Nine Trey is the movement of

       members from one line to another without permission, which is referred to as “line

       jumping.” JA 1665, 1872–73. Taking another member’s subordinates or scraps is

       disrespectful, and the aggrieved member would have to “eradicate” the line controlled

       by the person showing disrespect. JA 1675.

                   2. Defendants’ Roles in the Enterprise

             By November 2015, Simmons had been a Nine Trey member for thirteen years,

       JA 5820, and had worked his way up to being the Low-020 with control over a Nine

       Trey line based in Hampton Roads, Virginia, primarily in the cities of Norfolk and

       Portsmouth, JA 2973, 3593–94, 6078. 8 He also sold drugs for, and with, other Nine

       Trey members. JA 6084–85, 6121–25. Foye was Simmons’ dedicated and violent




       8
        Simmons claimed that he had been “busted all the way down” (i.e., demoted) in May
       2015, before the crime spree at issue here. See, e.g., JA 6077–78. At other times, he
       claimed that, by November 2015, he had been demoted to a Five-Star General.
       JA 6080. The evidence at trial contradicted that claim and confirmed that Simmons
       outranked and directed the men below him during the crime spree at issue. JA 2971–
       77, 2094–97, 2976–77, 3587–89, 3624–27. Regardless, Simmons admitted that
       Mitchell and Foye had to follow his orders since they were below him in rank.
       JA 6080. Mitchell’s girlfriend confirmed that Mitchell had told her he had to follow
       “Big Bro.” JA 3963. She also observed Simmons chastising Foye, and Foye’s
       subdued response. JA 3972–73, 3975–76.

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       Three-Star General (the “God of War” under Nine Trey rules), and viewed Simmons

       as a father figure. JA 2978, 6079, 6138. Mitchell was a One-Star General who wanted

       to keep pace with Foye’s violence. JA 6138, 4155, 5862–64. Mitchell and Foye did

       whatever Simmons “required them to do” with guns. JA 2987. Specifically, Simmons

       wanted Foye and Mitchell (as well as Davis, who was a Three-Star general in another

       line but who reported to Simmons once he moved to Hampton Roads) to be his

       “cleanup crew”—i.e., to “take care” of anybody Simmons had marked for violence.

       JA 4066–67, 4022, 4045–46, 4175, 4280. Foye, Mitchell, and Davis thus called

       themselves the “Drillmob,” in reference to a Chicago-based rap subgenre that

       celebrates gun violence, and Foye and Mitchell in particular worked to gain a

       reputation in the gang as prolific shooters. JA 4032–33.

             By late 2015, Simmons had a problem. As he acknowledged in a letter he wrote

       directly to the Godfather of Nine Trey (and later confirmed during an interview with

       police), he had “messed up the baby love,” JA 4053–55, 5820, and owed “Dido,” his

       Nine Trey superior, $950 for a failed drug deal, JA 4057, 6084–85. In response, Dido

       put Simmons “on freeze,” which meant Simmons was supposed to limit his

       supervisory role and, instead, focus on repaying the debt, either through money or

       guns. JA 4055–56. To generate money, Simmons sent his loyal soldiers to commit

       robberies, commonly referred to by members of the gang as “jugs.” JA 4122–23,

       4125–27.



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                   3. December 10, 2015, Murder of Al-Tariq Tynes

             One such robbery targeted Al-Tariq Tynes, a part-time drug dealer and Foye’s

       erstwhile friend, who had drugs, cash, and a .380 semi-automatic handgun. JA 2581.

       Foye had been obsessing about Tynes for some time—he knew Tynes had cash and a

       gun, and he feared that Tynes was cooperating with the police. JA 2432–37, 2439–45.

       Foye decided to rob Tynes on December 10, 2015, in consultation with Simmons.

       JA 2438–39, 5956–57.

             Around 7:30 p.m., Foye texted Simmons that he would call him in twenty

       minutes, explaining that he was “with the meal so its guaranteed.” JA 5956. Under

       Nine Trey code, food references such as “the meal,” “food,” “being on a plate,”

       indicated that someone was a target. JA 1728, 1734, 1761, 1888–90, 1914, 2967–68,

       3579; see also JA 6077. Simmons’ response, sent just seconds later, was “Faxtz.”

       JA 5956. In the gang’s code, the word “Faxtz” signals a confirmation or affirmative

       response. JA 1727, 5826.

             Just seconds later, Foye texted Davis to arrange for Davis’s help. JA 4080,

       5957. When Davis arrived, he saw Tynes slumped in the passenger seat of his gold

       Lexus, with blood flowing from a head wound. JA 4081–84. Davis and Foye stuffed

       Tynes’ body in the trunk of his own car. JA 4084–85. Foye also looked for, and found,

       Tynes’ .380 Kel-Tec semi-automatic handgun. JA 4085. Cell site location information

       confirmed that “between 5:30 pm and 11:00 pm, the Foye phone . . . and the Tynes



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       phone . . . used the same T-Mobile antennas at the same general time.” JA 6043. Later

       the same night, after the murder, Simmons texted Foye to tell him he needed the money

       Foye had stolen from Tynes: “Bro I’ve been up all night I need the money by 11 this

       morning smh [shaking my head] or we dead bro.” JA 5957.

             After the murder, Foye kept Tynes’ gold Lexus and drove it around the Hampton

       Roads area for several days, with Tynes’ corpse in the trunk. JA 6043. At one point,

       while driving the Lexus with Davis, Foye decided to show the corpse to his cousins,

       purportedly because his cousins were “out here doing shit,” and Foye “want[ed] to

       show them how real shit can get.” JA 4087. When Foye displayed Tynes’ corpse to

       his cousins, one of them nearly passed out and went back to the house. JA 4088–90.

       The other cousin—Malek Lassiter—stayed and followed Foye’s directions to rifle

       through Tynes’ pockets. JA 4099–4100. Lassiter found a “wad of cash,” which he

       gave to Foye, but from which he later took $100 for himself. JA 4016, 4100, 5958.

       Foye then riped a gold Cuban link chain necklace from Tynes’ neck, JA 4099–4100,

       which Lassiter later pawned for $80, JA 2392, 4016, 4100, 5835. Several days later,

       when Tynes’ brother, who suspected Foye of killing Tynes, confronted Foye about his

       brother’s fate, Lassiter protected Foye by displaying a firearm. JA 2586–88.

             After driving the Lexus for several days, with Tynes’ corpse still in the trunk,

       Foye, with Davis’ help, disposed of Tynes’ body in a secluded wooded area. JA 4100,

       4102–05. The body was not found until January 4, 2016, in an advanced stage of



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       decomposition. JA 2412–14. Tynes’ head wound was consistent with a through-and-

       through gunshot. JA 2423, 2544.

             Simmons admitted he instructed Foye to get rid of Tynes’ Lexus, JA 6093–94,

       but Foye did not abandon the car until after he crashed it, JA 4104–05, 4104–05, 4116–

       17. In his post-arrest statements, Simmons also admitted telling Foye that he “needed

       kitty money” while Foye was with Tynes and preparing to kill him. JA 6090. He also

       admitted learning that Foye had killed Tynes and put his body in the trunk. JA 6091–

       92.

             Mitchell also admitted knowing about the murder and being in the Lexus after

       the murder. JA 6143–44. According to Davis, Mitchell took the .380 Kel-Tec handgun

       that Foye had found in Tynes’ car. JA 4108. Mitchell’s girlfriend, Antanisha Rains,

       confirmed that Mitchell had a .380 around this time. JA 3962, 5858 (“could’ve at least

       left the 380 with me.”). Donte Brehon, another Nine Trey affiliate, also testified that

       Mitchell had a .380. JA 2996.

                    4. December 15, 2015, Murder of Vandelet Mercer and Attempted
                       Murder of R.F.

             On December 14, 2015, Simmons dispatched Mitchell, Foye, and Davis to rob

       a gambling spot. Davis picked Foye and Mitchell up, and the men arranged to meet

       with Simmons in person. JA 4112–13, 5966–67. Simmons gave Foye the keys to

       Tynes’ Lexus, which he had previously taken away, and instructed the men on the plan

       for the robbery. JA 4113–14. The men did not manage to execute that robbery. Later

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       in the evening, they made a second attempt at robbing a gambling house, but were

       again unsuccessful. JA 4116.

             Later that night, Simmons texted Foye that he “[m]ight have something for

       [him].” JA 5966. Foye responded, “man we only have two hours. [I]f you don’t hurry

       up ima get out and redrum”—i.e., murder—“somebody.”              JA 5958, 6076. At

       approximately 2:00 a.m., Foye again texted Simmons, again using the word “redrum.”

       JA 5968. Simmons and Foye agreed that Foye would “handle that before 7:00”—i.e.,

       commit a robbery, as the men had been discussing, before the next morning. JA 5969.

       Simmons also reiterated, “that gambling spot still a go.” JA 5970.

             About a minute after Foye acknowledged Simmons’ text, Foye, Mitchell, and

       Davis attempted to rob two people they found walking on the street, Vandelet Mercer

       and R.F., the man Ms. Mercer was with. JA 2643–44, 4120–21. Foye, who was texting

       with Simmons while Davis was driving, told Davis to stop the car. Foye and Mitchell

       jumped out of the car. JA 4120–21. One of the victims, R.F., ran before the men could

       reach him, at which point they started shooting, hitting him in the hand. JA 2645. The

       other victim, Mercer, stumbled as she tried to run away and was shot dead. JA 2645–

       46, 2649. After shooting R.F. and Mercer, the men returned to the car, and Davis drove

       them away. JA 4122. According to Davis, once back in the car, Foye said to Mitchell

       “man, bro, you shot that bitch.” JA 4122.




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               Ballistics and CSLI evidence confirmed Foye’s, Davis’, and Mitchell’s

       participation in the murder. Four .40 casings found at the scene matched Foye’s Glock,

       and five .380 casings matched the gun used by Mitchell at the other crimes. JA 3521–

       22, 6069–70. CSLI analysis placed Davis’ phone in proximity with Foye’s phone that

       night. It also placed Mitchell’s and Foye’s phones together in the hours leading up to

       the shooting. JA 3880–86, 4563–67, 6046, 6048, 6050.

               Vandelet Mercer was 27 when she was murdered. She left behind a six year-

       old daughter. JA 2693–94, 6869.

                      5. December 20, 2015, Murder of Linda Lassiter and Wayne Davis

               In the early morning of December 20, 2015, Foye and Mitchell shot to death

       Linda Lassiter 9 and Wayne Davis, 10 her boyfriend, as they were sitting in Mr. Davis’

       car on Loren Crescent Road in Portsmouth. JA 2038–39. Mr. Davis and Ms. Lassiter

       died at the scene. According to Simmons, the murders stemmed from an earlier

       shooting in Portsmouth. As Simmons described it, Foye “thought they was tryin’ to

       get him, some shit that happened in Portsmouth,” and so he “caught two people in the

       car” and shot them. JA 6099.

               That earlier shooting by Foye, to which Ms. Lassiter was a witness, occurred in

       front of the residence of Ms. Lassiter’s daughter the day before Thanksgiving—as Ms.


       9
           Neither Linda Lassiter nor her family is related to Defendant Malek Lassiter.
       10
            Wayne Davis is not related to Nine Trey member Alvaughn Davis.

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       Lassiter was preparing for Thanksgiving dinner. Earlier that day, November 25, 2015,

       a friend of Ms. Lassiter’s son, who had a longstanding “beef” with Foye, had pulled a

       gun on Foye in the parking lot in front of the Lassiter residence. JA 2353–59, 4067–

       68, 4070. Pulling a gun on Foye constituted a sign of disrespect to Nine Trey, which,

       under the gang’s rules, required Foye to retaliate. JA 635. Foye did so later that

       evening, by firing a number of shots from his Glock into the kitchen of the Lassiter

       residence, nearly striking Ms. Lassiter.11 When word got back to Foye that one of Ms.

       Lassiter’s family members was trying to identify the shooter, and that people were

       putting his “government name”—i.e., Foye—out as the shooter, Foye became enraged

       and decided to retaliate. JA 4071–73. Less than a month later, he and Mitchell found

       Ms. Lassiter and her boyfriend (Wayne Davis) in a car and murdered them.

             Ballistics analysis of the December 20 crime scene confirmed that two Glock

       .40 casings and two bullets found at the scene had been fired by Foye’s .40 Glock—

       the same gun that fired the bullets that nearly struck Ms. Lassiter on November 25.

       JA 6069–70, 3525–26. The analysis also established that two other bullets and a bullet

       fragment were fired from the same .380-caliber firearm used in the other shootings

       alongside Foye’s Glock. JA 3534–36. In addition, CSLI data placed Mitchell’s phone

       in the vicinity of the crime at the relevant time, JA 6069–70, 6055.


       11
         Eight .40 casings were found at the crime scene, and ballistics analysis revealed that
       they were fired from Foye’s gun. JA 6069–70. CSLI data also placed Foye’s phone
       near the crime scene at the time of the shooting. JA 6039.

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                    6. December 20, 2015, Aqua Lounge Shooting

             Two hours after gunning down Linda Lassiter and Wayne Davis, Mitchell and

       Foye went clubbing. JA 3002, 2038–39. Having crashed and abandoned Tynes’ gold

       Lexus on December 17, 2015, Foye and Mitchell were driving a red Hyundai registered

       to Mitchell’s girlfriend. JA 3003, 3960–62, 4117–18; see also JA 6100 (Simmons

       statement). As they left the nightclub, Mitchell and Foye became agitated with a man

       who was wearing all red, including a red Chicago Bulls hat. As they saw it, wearing

       such items without being a member of the Bloods could constitute “false flagging”—

       an offense for which the penalty was violence. See JA 1898–99, 4006–07. In fact, the

       man, R.M., was a First Class Petty Officer in the Navy, not a Bloods member.

       JA 2940.

             After leaving the club, R.M. got into his car and prepared to pull out of the

       parking lot. Foye and Mitchell exited their red Hyundai, jogged up to R.M.’s car, and

       shot him multiple times in the right arm, right and left knee, and left thigh. JA 2943–

       44. Video surveillance captured the shooting:




       JA 6755 (Gov’t Ex. 7-9).


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             R.M. managed to restart his stalled car and exit the parking lot, driving about

       half a mile before pulling over. JA 2946. A nearby officer responded to an emergency

       call, located R.M., pulled him from the car, and applied a tourniquet to stop the most

       serious bleeding.    JA 2846–48.     A passing ambulance provided assistance and

       transported R.M. to the hospital. JA 2849. He suffered serious damage to his knee

       that required him to be medically retired from the Navy. JA 2949.

             A ballistics analysis of the casings found at the crime scene established that the

       shots were fired by Foye’s .40 Glock and Mitchell’s .380. JA 6070. CSLI analysis

       placed the phones of Mitchell and Donte Brehon, who was with Mitchell and Foye at

       the nightclub, in close proximity to each other and in the vicinity of the crime scene

       shortly before the shooting. JA 6056, 3886–88. Mitchell showed off the video of the

       shooting—which had been played on the local news—to his girlfriend’s stepfather and

       admitted he was one of the shooters. JA 3115.

                    7. December 20, 2015, Attempted Murder of R.P.M

             By this point, Foye and Mitchell were competing with each other to establish

       their reputations as the most violent Nine Trey shooters. JA 3013, 3045–46. Shortly

       after shooting R.M., Foye and Mitchell found another man, R.P.M., sitting outside his

       parents’ house in his car, watching videos on his phone. One of the men used Foye’s

       Glock to shoot at the man, nearly striking him in the head and severing part of his ear.

       JA 2039, 2903–07. R.P.M.’s father, who was asleep on the living room couch, heard



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       the shots, got up, and saw his injured son come through the front door and collapse

       into his arms. 2906–07.

             Ballistics analysis confirmed that Foye’s Glock ejected the casings found at the

       crime scene. JA 6070, 3530–32. CSLI evidence again placed Mitchell’s phone near

       the crime scene around the time of the shooting. JA 6058, 3888–91. When Simmons

       got word of Foye’s and Mitchell’s killing and shooting spree, he praised his men.

       JA 3010, 4795.

                   8. December 21, 2015, Murder of Jamesha Roberts

             On the evening of December 21, 2015, Jamesha Roberts, a twenty-five-year-old

       mother of two young children, was murdered as she walked down the street in Norfolk.

       She sustained gunshot wounds to her head, neck, and torso, and died at the scene.

       JA 3226–29. Three .380 bullets and three .380 casings found at the crime scene were

       matched to bullets and casings fired by the .380 Mitchell used at the other shootings.

       JA 6070, 3527. CSLI evidence also placed Mitchell’s phone near the murder within

       30 minutes of the 911 call. JA 6059.

             Shortly thereafter, Mitchell and Foye confirmed to other gang associates that

       Mitchell had killed Ms. Roberts. Specifically, Foye bragged that Mitchell had killed

       Ms. Roberts for walking down the same side of the street as him. JA 3013, 4154–55;

       see also JA 6105–06, 3185–86. Mitchell responded, “fuck that bitch, but you’re still




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       one up on me, bro.” JA 3013. According to Davis, Mitchell was “trying to prove that

       he could keep up with” Foye. JA 4155.

             On December 23, 2015, Simmons—who bragged about the violence his men

       committed—instructed them to destroy evidence in the wake of their string of

       shootings. He texted Foye at 1:45 that morning and told him to “Stay off the

       FaceBook, Snapchat and Messenger. As a matter of fact, deletion time ASAP. Love

       you little bro.” JA 2333, 5976.

                   9. War on Skino’s Line and the December 27, 2015, Attempted Murders
                      of Nino, Lanez, and Blacko

             As Simmons was trying to repay his debt to his Nine Trey superior Dido through

       gang-related robberies, his problems worsened. Dido’s disciplinary action—putting

       Simmons on “freeze” (i.e., temporary suspension)—was supposed to be kept secret.

       But word of Simmons’ freeze got to one of his rivals within Nine Trey, a fellow Low-

       020 nicknamed “Skino,” who ran a Nine Trey line in Virginia Beach despite being

       incarcerated in Colorado. JA 3015–16, 4057. Skino also happened to be angry with

       Simmons for allowing one of Skino’s soldiers to “line jump” (i.e., move from one

       chain of command to another) after Skino had expelled the soldier from the gang.

       JA 3016–19, 4057–58, 6220–30. To retaliate, Skino sent out a text message to

       numerous Nine Trey members revealing that Simmons had been put on freeze.

       JA 3614–17. In response, Simmons moved to take over Skino’s Nine Trey line. JA

       6116–18, 4153–54. Skino’s line was led locally by high-ranking members known as

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       “Blacko,” “Lanez,” and “Nino,” all of whom held “General” ranks under Skino. JA

       3023, 4156, 4161.

             On December 27, 2015, Mitchell, Foye, Davis, and a “funny lookin’ dude”—

       later identified as Malek Lassiter—met with Simmons at his house. JA 6111, 6119–

       21. Earlier that day, Lassiter had taken possession of a .38 revolver from Foye and

       was preparing to “make his way home”—i.e., join the gang. JA 1856, 4004, 4149–52,

       4306–07; see also JA 1923. At the meeting, Simmons gave the “greenlight” for

       Lassiter to join the gang, JA 4152–53, 4306–07, 4312–13, and then instructed his men

       to “mash the gas” on Skino’s line, JA 6297–99b, 6755 (Gov’t Exs. 14-3g – 14-3j),

       except for Blacko and Lanez, who Simmons believed were going to switch to his line

       and leadership, JA 4152–54. “[M]ash[ing] the gas” means to kill someone, JA 1660,

       or “go hard at them.” JA 2969, 3581.

             After receiving Simmons’ orders, Mitchell, Davis, Foye, and Lassiter got into a

       car together, with plans to first confront Skino’s subordinate Nino. JA 4015–16. When

       Mitchell connected with Nino by phone, however, it became apparent that Skino’s line

       was aware of Simmons’ plans and that Blacko had told his men to “get their guns up.”

       JA 4156–60. Simmons’ men surmised that Blacko was no longer off limits and set out

       to find him and kill him, after first searching for but failing to find Lanez (whom they

       also intended to kill). JA 4160–62; see also JA 6160 (Mitchell’s admission that they

       went to “pull up” on Lanez).



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             Analysis of CSLI evidence placed Mitchell’s and Foye’s phone together and in

       the vicinity of residences associated with Nino and Lanez. JA 6063, 6065. Lassiter

       did not have a phone at this time. JA 3893, 4958.

                     10. December 27, 2015, Attempted Murder of S.M.

             Later the same evening, after failing to locate and kill Nino and Lanez, Foye

       directed the men to Blacko’s “spot,” JA 6160—a house in Portsmouth where Foye,

       Mitchell, and Davis had attended a Bloods party earlier in 2015. JA 4166, 5759. In

       fact, the house belonged to S.M., a woman who had dated Blacko in high school and

       remained friends with him. JA 3278–79. Once in the vicinity of S.M.’s home,

       Mitchell, Lassiter, and Foye got out of the red Hyundai with their guns, walked to the

       house, and knocked on the door. JA 4166, 3265–66. S.M. answered the door and saw

       the three men—two at her door and one man about 20-25 feet away, near the curb,

       facing away from her. JA 3266–67. One of the men—whom she later identified as

       Mitchell—asked her something, which she initially could not understand. JA 3266–

       67, 3270–71. She responded that he had the wrong house and closed the door.

       JA 3266–67.

             S.M. heard a second, harder knock, and returned to the door. JA 3268–69. The

       same man resumed speaking to her, so close that she could feel him spitting on her as

       he spoke. JA 3268–69. She saw the second man, an African-American with a lighter

       skin tone (consistent with Foye’s complexion), nod at the tall man; she then tried to



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       close the door, but the tall man blocked it with his foot. JA 3269. The tall man was

       so close, she “could feel him breathe. I could feel his chest…. I could feel his stomach

       like breathing on my stomach. We was touching each other, just about.” JA 3269. At

       that point, she “couldn’t hear any more—like I just couldn’t hear. And I didn’t know

       at the time that I was getting shot, but I kept getting pushed back.” JA 3269. The final

       bullet knocked her down onto the kitchen floor. JA 3269. S.M. was shot six times,

       including in her abdomen, her left breast, her ribs, and her upper arm. JA 3270. The

       entire event took no more than 15 minutes. JA 3271–72. Once back in the car, Foye

       boasted that he “shot that bitch in the heart.” JA 4167. At trial, S.M. made an in-court

       identification of Mitchell, not Foye, as her shooter. JA 3270–71.

             Ballistics analysis confirmed that two .40 casings and two .40 bullets came from

       Foye’s Glock, and that a .380 casing recovered from the street outside S.M.’s house

       was ejected from the same .380 gun used by Mitchell in the other shootings. JA 6070,

       3534–36. CSLI analysis placed Mitchell’s and Foye’s phones together shortly before

       and after the 911 call reporting the shooting. JA 6067.

             S.M. survived but, as a result of the shooting, had to endure two surgeries, had

       a metal rod permanently inserted into her left arm, and was hospitalized for a week.

       JA 3274, 3276, 3287.




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                   11. December 27, 2015, Shooting at Other Local Residents

             When they heard the gunshots at S.M.’s house, several local residents stepped

       out of their houses to try to see what had happened. JA 6170 (Mitchell’s statement:

       “I’m like why ya’ll standing’ outside tryin’ to see somethin’?”), JA 2037. Foye and

       Lassiter started shooting in the direction of these onlookers. JA 4167. In one case,

       after a potential witness sought safety in the house of a neighbor—B.B., a mother of

       two—at least one of the men fired indiscriminately into B.B.’s apartment. JA 3343–

       45, 3357–59. When the shooting stopped, there was a bullet hole over a crib, another

       bullet hole in B.B.’s bedroom, and bullet fragments in a mattress where her roommate

       was lying. JA 3347, 3360–65; see also JA 3370–74 (describing the testimony of

       another bystander who was also targeted).

             Ballistics analysis confirmed that the .40 caliber bullet and casing found at the

       scene of this second shooting were fired from Foye’s Glock. JA 6070, 3536. Three

       spent casings were recovered later the same night from inside the Ruger revolver

       Lassiter fired. JA 1494–96. Analysis of the CSLI data placed Foye’s and Mitchell’s

       phones together shortly before and after the 911 call. JA 6067.

                   12. December 27, 2015, Shell Gas Station Robbery

             Around 10:30 p.m., Portsmouth police officers received a report of an armed

       robbery at a Shell gas station. JA 1318, 1335–37. On their way to the gas station,

       Sergeant Kevin McGee and his partner spotted a car with two men who matched the



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       descriptions provided by dispatch. JA 1318–20, 1337–38. (Davis and Lassiter were

       no longer with Mitchell and Foye, who dropped off Davis and then Lassiter after the

       shooting of S.M.). JA 4168. A high-speed chase ensued, which ended when Mitchell

       and Foye abandoned their red Hyundai and fled on foot. JA 1321–22, 1339. A police

       dog tracked Mitchell to a backyard shed. JA 1318–23, 1341, 1347–50. Another officer

       chased down Foye and arrested him. JA 1366–67. Surveillance footage from the Shell

       gas station showed Mitchell and Foye wearing red bandanas around their faces as Foye

       brandished a firearm at the lone cashier on duty.




       JA 6755 (Gov’t Ex. 1-1b), 1306–08, 1311. The cashier at the Shell gas station also

       identified Mitchell and Foye as the robbers. JA 1324–25. Both men pleaded guilty to

       Hobbs Act robbery and related charges in a separate federal prosecution. United States

       v. Foye and Mitchell, No. 2:16cr20 (E.D. Va.), Docket Nos. 31–32 (Mitchell); 38–39

       (Foye).

             Foye made several calls to Simmons after the robbery and during the car chase.

       JA 2332, 5986. The next day, at 11:57 a.m., Simmons texted Foye to again instruct



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       him to destroy the evidence of the crimes his men were committing: “no phones.”

       JA 2332, 5987.

             When Foye was arrested, the police seized an extended Glock magazine, two

       .38 special bullets, cash, and his cellphone directly from him; Foye’s loaded Glock .40

       handgun, which he tossed while being chased, was found in a nearby yard. JA 1366–

       67, 1372, 1479, 1504. A search of the red Hyundai also revealed a single casing from

       a .380 semi-automatic handgun—ejected from the same gun as the other .380 evidence

       in the case—and a .38 Ruger revolver containing three spent cartridges. JA 1493–94,

       1501; see also JA 3537–39. A second cellphone was found near the car. JA 1502.

             After the arrest, Davis spoke with Mitchell on a recorded jail call and told

       Mitchell he thought “all three of you all locked up,” referencing Foye, Mitchell, and

       Lassiter, who had still been in the red Hyundai when Davis was dropped off after the

       S.M. shooting on December 27.          JA 4170–71.       Mitchell and Davis continued

       communicating after Mitchell was arrested, either directly or through Mitchell’s

       girlfriend. In a letter, Mitchell instructed Davis and other gang members to appear at

       a state court hearing so they could see “the Bitch that will testify on us”—i.e., the Shell

       gas station clerk who had identified him. JA 5770. Davis was to “follow her and catch

       her by herself,” and then “put some fear in her heart so she wouldn’t come to trial on

       us.” JA 5770. Mitchell’s instructions were then spelled out in more detail: “Let her

       know that if she shows up again that she will be dealt with. Or just kill the bitch.”



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       JA 5770. Mitchell also told his girlfriend, Rains, that “[t]hey have EVERYTHING!”

       and instructed her to destroy evidence connected to other shootings and delete items

       from Facebook. JA 5770. In a recorded phone call with Rains, Mitchell stated, “Do

       you know how many people on them, um Jim Jays,” JA 2027, which Rains understood

       meant “[h]ow many bodies are on the gun,” JA 3963; see also JA 5828, 4011.

             Later, after he was arrested, Simmons admitted to his cellmate that he was a

       Nine Trey leader and “some members of his gang were involved in … eight days of

       mayhem.” JA 4187. Simmons was angry because his men were “sloppy” during a

       robbery and had their “flags” showing. JA 4187. Simmons also expressed his concern

       about a text message he had sent after “Ace” (i.e., Foye) killed someone. JA 4187–

       88. Simmons believed, however, that law enforcement would not find his phone since

       it was not in his name, but in the name of “Anthony Newport.” JA 4188–89.

                   13. Simmons’ Drug Trafficking

             Simmons was arrested on March 22, 2018, in Chesapeake, Virginia, while

       driving with another Nine Trey member in the front passenger seat. JA 1514–17, 2056,

       2058–60. A drug dog alerted on the car, resulting in the seizure of crack and powder

       cocaine, along with scales and plastic bags consistent with drug trafficking. JA 1518,

       1523–24, 1557, 1563, 1566–67, 1569. Crack cocaine was later found in the back seat

       of the police car, after the other Nine Trey member had been detained there. JA 1526.

       A loaded Smith & Wesson .40 caliber firearm was found in the glove box. JA 1519.



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       Officers also seized Simmons’ cellphone, which was registered in the name of

       “Anthony Newport.” JA 1525, 4507. Both at the scene and later, Simmons engaged

       in a protracted effort to convince his girlfriend, Dornice, to claim the gun was hers.

       JA 2063–68, 6210–15.      In the interview he gave after his federal arrest, however,

       Simmons admitted that the gun and drugs were his. JA 6126–28. He likewise admitted

       to dealing drugs for, and with, other Nine Trey members. JA 6084–85, 6122–25; see

       also JA 3611–13.

             In recorded jail calls, Simmons discussed his arrest, the debt he owed Dido, and

       his conflict with Skino. JA 2052. He told his cellmate that he had 100 men who could

       help him sell drugs; Simmons also admitted that the gun found when he was pulled

       over in a traffic stop in the spring of 2016 was his. JA 4189–90.

                   14. Lassiter’s False Alibi Defense and Testimony

             After Lassiter was arrested but before trial, Lassiter and his family members

       attempted to create a false alibi for Lassiter for the night of December 27, 2015—the

       night that Simmons dispatched Lassiter and his other men to wage war on Skino’s line.

       On September 22, 2017 (nearly a month after Lassiter was arrested), Lassiter called

       his mother using another inmate’s identification number. On the call, he repeatedly

       cautioned his family, “[d]on’t say no names, don’t, don’t, tell nobody don’t say no

       names, my name or not” while on the line. JA 6306–09. Lassiter instructed his mother




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       to contact his ex-girlfriend, Shakema Taylor, because he needed them both as “a[n]

       alibi.” JA 6306–09. Lassiter’s mother responded: “Say no more.” JA 6306.

             Lassiter specified that he needed an alibi from his mother and Taylor for “that

       whole night.” JA 6307. He repeatedly emphasized that he needed an alibi for “that

       whole night though” and that he was “talking about the whole night.” JA 6307. In a

       subsequent call, using his own identification number, Lassiter referenced two other

       potential witnesses; his mother responded: “say no more, your mother, trust and

       believe your mother is on it. Ok?” JA 6312. His mother repeatedly warned him to

       “[s]ay no more,” reassuring him that “your mom could have been … [an] organizer, a

       leader, or something.” JA 6312; see also JA 4972–73.

             Consistent with Lassiter’s instructions, members of his family reached out to

       Shakema Taylor, his former girlfriend, urging her to claim that she was with Lassiter

       and his family during the entire night of December 27, 2015, even though they knew

       the claim was false. JA 4881–82. At the family’s request, Ms. Taylor met with

       Lassiter’s defense counsel. The attorney asked her questions while Lassiter’s mother

       stood behind the attorney, where he could not see her, nodding at Ms. Taylor in a

       manner that Ms. Taylor understood was an effort to direct her answers. JA 4882–83.

             A couple of months later, the family called Ms. Taylor again and requested that

       she come to the house, but she did not go. JA 4884–85. Instead, at the FBI’s request,

       she made a recorded call to Lassiter’s younger brother. JA 4885, 6311. She informed



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       him that she could not help them because “I wasn’t really with him that whole day

       anyways, so.” JA 6311. Lassiter’s brother responded: “he was there, like all you gotta

       say is you, you know he was home.” JA 6311.

       II.   Procedural History

             The Second Superseding Indictment, returned August 23, 2017, charged

       Defendants with 38 counts related to their participation in the Nine Trey Gangsters.

       All three defendants were charged with RICO conspiracy. JA 167–202. As part of the

       RICO conspiracy, Simmons and Mitchell were charged with special sentencing factors

       relating to multiple murders. Specifically, Simmons was charged with the December

       10, 2015, murder of Altariq Tynes and the December 15, 2015, murder of Vandalet

       Mercer. JA 177. Mitchell was charged with the December 15, 2015, murder of

       Vandalet Mercer, the December 20, 2015, double homicide of Wayne Davis and Linda

       Lassiter, and the December 21, 2015, murder of Jamesha Roberts. JA 177–78. All

       murders were in violation of Virginia Code § 18.2-32, which carries a statutory

       maximum of life imprisonment. JA 177–78; Virginia Code §§ 18.2-32; 18.2-10.

             The Defendants proceeded to trial, which began on February 6, 2018, and

       spanned the next seven weeks. On March 19, 2018, the district court dismissed the

       witness tampering charge against Simmons, JA 5161; all other counts were submitted

       to the jury on March 21, 2018.




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             On March 22, 2018, the jury returned a verdict of guilty on all counts against

       each Defendant. The jury also completed a special verdict form for each Defendant,

       finding Simmons and Mitchell guilty of the RICO conspiracy and specifically finding

       both men guilty of every charged special sentencing factor as part of their participation

       in the racketeering conspiracy charged in Count 1. JA 6313–14, 6321–22.

             The Defendants filed post-trial motions for a judgment of acquittal under

       Federal Rule of Criminal Procedure 29 as to several counts. On November 16, 2018,

       the district court granted Defendants’ motion in part by dismissing Count 30, which

       charged Defendants with the possession, brandishing, and discharge of a firearm, in

       violation of 18 U.S.C. § 924(c), in connection with their RICO conspiracy (Count 1)

       and VICAR assault with a dangerous weapon (Count 29). JA 6355–84.

             As relevant here, the district court rejected the government’s argument that

       Simmons’ and Mitchell’s conviction for RICO conspiracy qualified as a crime of

       violence. 12 The government argued that this result flowed from Apprendi v. New

       Jersey, 530 U.S. 466 (2000). The indictment had charged—and the jury made special




       12
          The district court separately concluded that VICAR assault with a dangerous
       weapon—the other predicate offense charged in the second superseding indictment
       and found by the jury in Count 30—is not a crime of violence under 18 U.S.C.
       § 924(c)(3)(A) and thus did not provide a valid predicate for the Defendants’ § 924(c)
       convictions on Count 30. JA 6365–82. The government does not appeal that ruling in
       this appeal. This appeal is limited to the argument that a RICO conspiracy with
       aggravating factors qualifies as a crime of violence when those aggravating factors are
       themselves crimes of violence.

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       findings—that Simmons and Mitchell each participated in murders as part of the RICO

       conspiracy charged in Count 1, and those findings subjected Simmons and Mitchell to

       an enhanced statutory maximum of life on the RICO conspiracy count, 18 U.S.C.

       § 1963(a). The district court held, however, that the jury’s findings regarding the

       murders “do not transform the inchoate RICO conspiracy into a ‘crime of violence’

       because the enhanced punishment that such special findings trigger is applicable under

       the categorical approach if the RICO conspiracy involves an agreement to engage in

       ‘racketeering activity’ involving murder—it does not require as an element that the

       murders actually be committed.” JA 6365.

                               SUMMARY OF THE ARGUMENT

             Defendants Simmons and Mitchell were charged and convicted of an aggravated

       form of RICO conspiracy that required the jury to find them guilty of Virginia first-

       degree murder in order to increase their statutory maximum punishment to life

       imprisonment. In Apprendi v. New Jersey, 530 U.S. 466 (2000), the Supreme Court

       held that, as a matter of constitutional law, “[o]ther than the fact of a prior conviction,

       any fact that increases the penalty for a crime beyond the prescribed statutory

       maximum must be submitted to a jury, and proved beyond a reasonable doubt.” Id. at

       490. As a result, the racketeering crimes that enhanced Simmons’ and Mitchell’s

       statutory maximums on Count 1—i.e., two completed murders for Simmons, and four

       murders for Mitchell—were elements of the aggravated forms of RICO conspiracy



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       under which Simmons and Mitchell, respectively, were charged and convicted.

       Because Virginia first-degree murder has as an element the use, attempted use, or

       threatened use of physical force, Simmons’ and Mitchell’s RICO conspiracy offenses

       in Count 1 qualified as crimes of violence under 18 U.S.C. § 924(c)(3)(A).

                                            ARGUMENT

       I.    The District Court Erred in Granting Simmons’ and Mitchell’s Post-Trial
             Motions for Acquittal on Count 30

             The district court erred in granting Simmons’ and Mitchell’s post-trial motions

       for acquittal on Count 30, which charged them with possessing, brandishing, and

       discharging a firearm, in violation of 18 U.S.C. § 924(c), in furtherance of two

       predicate offenses: (i) RICO conspiracy, as part of which Simmons and Mitchell each

       “committed, or aided, abetted, counseled, commanded, induced, or procured” murder,

       JA 6313–31; and (ii) VICAR assault with a dangerous weapon. Because Simmons

       and Mitchell were charged with and convicted of an aggravated version of RICO

       conspiracy that included, as elements of the offense, their participation in murder, their

       RICO-conspiracy convictions had “as an element the use, attempted use, or threatened

       use of physical force,” and therefore qualified as crimes of violence under 18 U.S.C.

       § 924(c)(3)(A).




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             A.     Standard of Review

             This Court reviews a district court’s decision under Rule 29 de novo. United

       States v. Cone, 714 F.3d 197, 213 (4th Cir. 2013).

             B.     Statutory Background

             1.     Section 924(c) of Title 18 makes it a crime to “use[] or carr[y]” a firearm

       “during and in relation to,” or to “possess[]” a firearm “in furtherance of,” any federal

       “crime of violence or drug trafficking crime.” 18 U.S.C. § 924(c)(1)(A). Ordinarily, a

       defendant’s first conviction under § 924(c) is punishable by a term of imprisonment of

       not less than 5 years. Id. at § 924(c)(1)(A)(i). If the firearm is brandished, however,

       the mandatory minimum sentence is 7 years. Id. at § 924(c)(1)(A)(ii). And if the

       firearm is discharged, the minimum sentence is 10 years. Id. at § 924(c)(1)(A)(iii). A

       defendant’s sentence for violating § 924(c) may not run concurrently to the sentence

       for any other offense, including the charged predicate offense on which the § 924(c)

       count is based. Id. at § 924(c)(1)(D)(ii).

             Section 924(c) contains its own specific definition of “crime of violence.” 18

       U.S.C. § 924(c)(3). The subparagraph at issue in this case—18 U.S.C. § 924(c)(3)(A),

       also called the “force clause” or the “elements clause”—specifies that the term “crime

       of violence” includes any “offense that is a felony” and “has as an element the use,




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       attempted use, or threatened use of physical force against the person or property of

       another.” Id. at § 924(c)(3)(A). 13

               2.    RICO was enacted October 15, 1970, as Title IX of the Organized Crime

       Control Act of 1970. See Pub. L. No. 91-452, 84 Stat. 941 (1970). The RICO statute

       makes it a federal offense for an individual, who is employed by or associated with an

       “enterprise,” to conduct or participate, directly or indirectly, in the conduct of the

       affairs of that enterprise “through a pattern of racketeering activity.” 18 U.S.C.

       § 1962(c); see also United States v. Cornell, 780 F.3d 616, 620 (4th Cir. 2015).

       Racketeering activity is defined by statute as “acts involving” certain enumerated state

       crimes, including murder (18 U.S.C. § 1961(1)(A)) and acts indictable under, or

       offenses involving, a series of enumerated federal statutes (18 U.S.C. § 1961(1)(B)–

       (G)).

               A defendant who conspires to violate 18 U.S.C. § 1962(c) is liable under the

       RICO conspiracy provision in § 1962(d). 18 U.S.C. § 1962(d); see also Salinas v.

       United States, 522 U.S. 52, 62–66 (1997); United States v. Mouzone, 687 F.3d 207,

       218 (4th Cir. 2012). To prove a RICO conspiracy, the government must prove, beyond

       a reasonable doubt, that:


       13
         The Supreme Court struck down § 924(c)’s alternative definition of “crime of
       violence”—which is set forth in 18 U.S.C. § 924(c)(3)(B)—as unconstitutionally
       vague in United States v. Davis, 139 S. Ct. 2319, 2336 (2019).



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                   (1)   A conspiracy or agreement existed between two or
                         more persons to participate in the affairs of an
                         enterprise that affected interstate commerce through a
                         pattern of racketeering activity;
                   (2)   The defendant knowingly and intentionally agreed
                         with another person to conduct or participate in the
                         affairs of the enterprise; and
                   (3)   The defendant knowingly and willfully agreed that he
                         or some other member of the conspiracy would
                         commit at least two acts of racketeering of the types
                         of racketeering activity set forth in the indictment.

       Cornell, 780 F.3d at 620; see also JA 5248–49.

             RICO sets different statutory maximums based on whether the government

       alleges and proves certain additional facts. Ordinarily, the statutory maximum for a

       RICO violation (including conspiracy) is twenty years’ imprisonment. 18 U.S.C.

       § 1963(a). But that maximum is increased to life “if the violation is based on a

       racketeering activity for which the maximum penalty includes life imprisonment.”

       Ibid.; United States v. Warneke, 310 F.3d 542, 549 (7th Cir. 2002), as amended on

       denial of reh’g and reh’g en banc (Jan. 10, 2003) (“The maximum penalty following

       a RICO conviction depends on the maximum penalty for the most serious predicate

       offense.”). Thus, a defendant may be sentenced to up to life imprisonment for a RICO

       conspiracy if, for example, the racketeering activity included murder and the state

       murder statute in the relevant jurisdiction provides a possible sentence of life

       imprisonment. United States v. Garcia, 474 Fed. Appx. 909, 912 (4th Cir. 2012)

       (unpublished); see also Chue v. United States, 894 F. Supp. 2d 487, 491 (S.D.N.Y.



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       2012) (same, where the charged racketeering activity included drug trafficking in

       quantities that carried a statutory maximum of life imprisonment).

             C.     The Racketeering Activity that Enhanced Simmons’ and Mitchell’s
                    Statutory Maximums for Count 1—i.e., Their Participation in
                    Several Actual Murders—Was an Element of Their RICO
                    Conspiracy Convictions and Satisfies § 924(c)’s Elements Clause

             1.     The racketeering crimes that enhanced Simmons’ and Mitchell’s statutory

       maximums on Count 1—i.e., two completed murders for Simmons, and four murders

       for Mitchell—were elements of the aggravated forms of RICO conspiracy under which

       Simmons and Mitchell, respectively, were charged and convicted. In Apprendi v. New

       Jersey, 530 U.S. 466 (2000), the Supreme Court held that, as a matter of constitutional

       law, “[o]ther than the fact of a prior conviction, any fact that increases the penalty for

       a crime beyond the prescribed statutory maximum must be submitted to a jury, and

       proved beyond a reasonable doubt.” Id. at 490; see also Mathis v. United States, 136

       S. Ct. 2243, 2256 (2016) (“If statutory alternatives carry different punishments, then

       under Apprendi they must be elements.”); United States v. Jackson, 327 F.3d 273 (4th

       Cir. 2003) (“any fact extending the defendant’s sentence beyond the maximum

       authorized by the jury’s verdict would have been considered an element of an

       aggravated crime—and thus the domain of the jury—by those who framed the Bill of

       Rights.”) (quoting Harris v. United States, 536 U.S. 545, 557 (2002)). And the

       Supreme Court has repeatedly emphasized that it makes no difference for Apprendi

       purposes how the legislature structures a statute, what it calls a fact that increases the

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       statutory maximum sentence, or whether it intends for that fact to be treated as an

       element of the offense. See, e.g., Ring v. Arizona, 536 U.S. 584, 602 (2002) (“If a

       State makes an increase in a defendant’s authorized punishment contingent on the

       finding of a fact, that fact—no matter how the State labels it—must be found by a jury

       beyond a reasonable doubt.”); Blakely v. Washington, 542 U.S. 296, 303 (2004)

       (“[T]he ‘statutory maximum’ for Apprendi purposes is the maximum sentence a judge

       may impose solely on the basis of the facts reflected in the jury verdict or admitted by

       the defendant.”) (emphasis omitted); Apprendi, 530 U.S. at 494 (“[T]he relevant

       inquiry is one not of form, but of effect—does the required finding expose the

       defendant to a greater punishment than that authorized by the jury’s guilty verdict?”).

             The murder offenses that Simmons and Mitchell committed as part of their

       RICO conspiracy were elements of their respective RICO conspiracy offenses for

       Apprendi purposes. As noted, to increase the statutory maximum sentence for RICO

       from twenty years’ to life imprisonment, the government was required to prove that

       the RICO “violation is based on a racketeering activity for which the maximum penalty

       includes life imprisonment.” 18 U.S.C. § 1963(a). Under Apprendi, therefore, the

       government was required to charge that aggravating fact—i.e., conduct (i) that

       constitutes racketeering activity; (ii) upon which the RICO violation was based; and

       (iii) that carries a possible life sentence—in the indictment, and the jury was required




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       to find it proven beyond a reasonable doubt. See, e.g., United States v. Nguyen, 255

       F.3d 1335, 1343 (11th Cir. 2001).

             In this case, the RICO conspiracy count (Count 1) of the Second Superseding

       Indictment charged Simmons with two specific first-degree murder offenses (the

       homicides of Tynes and Mercer), in violation of Virginia law. The indictment alleged

       that each “killing was willful, deliberate, and premeditated.” JA 100. The same count

       charged Mitchell with committing four specific first-degree murder offenses (the

       homicides of Mercer, Davis, Linda Lassiter, and Roberts), again in violation of

       Virginia law, again alleging each “killing was willful, deliberate, and premeditated.”

       JA 100–01. These completed crimes, moreover, carried a statutory maximum of life

       imprisonment under state law. Virginia Code §§ 18.2-32; 18.2-10. And, in special

       verdicts, the jury found that Simmons and Mitchell “committed, or aided, abetted,

       counseled, commanded, induced, or procured” each of those murders “as part of the

       racketeering conspiracy.”    JA 6313–14, 6321–22, 5261–62.          Under Apprendi,

       therefore, these penalty-enhancing murders constituted elements of the aggravated

       form of RICO conspiracy of which Simmons and Mitchell were convicted.

             2.    The remaining question is whether, in addition to enhancing the

       Defendants’ maximum penalties for RICO conspiracy, the murders charged in Count

       1 also qualify as “crime[s] of violence” under 18 U.S.C. 924(c)(3)(A)—i.e., whether

       Virginia first-degree murder “has as an element the use, attempted use, or threatened



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       use of physical force against the person or property of another.” Ibid. This Court

       squarely considered that question earlier this year in United States v. Mathis, 932 F.3d

       242 (4th Cir. 2019). It held that “the crime of first-degree murder under Virginia law

       qualifies categorically as a crime of violence under the force clause.” Id. at 265.

             In sum, because Simmons and Mitchell were charged and convicted of an

       aggravated form of RICO conspiracy that required the jury to find them guilty of

       Virginia first-degree murder in order to increase their statutory maximum punishment

       to life imprisonment, and because Virginia first-degree murder has as an element the

       use, attempted use, or threatened use of physical force, Simmons’ and Mitchell’s RICO

       conspiracy offenses in Count 1 qualified as crimes of violence under 18 U.S.C.

       § 924(c)(3)(A).

             3.     The district court’s contrary reasoning is unpersuasive. In dismissing

       Count 30, the district court did not grapple with the fact that the completed murders

       that served as penalty-enhancing “racketeering activity” under 18 U.S.C. § 1963(a)

       constitute elements under Apprendi.      It concluded, instead, that RICO “‘special

       sentencing factors’”—though charged in the indictment and “found by the jury”—can

       never “transform the inchoate RICO conspiracy into a ‘crime of violence’ because the

       elevated punishment that such findings trigger is applicable under the categorical

       approach if the RICO conspiracy involves an agreement to engage in ‘racketeering

       activity’ involving murder—it does not require as an element that the murders actually



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       be committed.” JA 6365 (citing Salinas v. United States, 522 U.S. 52, 63, 65 (1997)).

       That reasoning misapprehends the Supreme Court’s decisions in Mathis and Apprendi.

             In Mathis, the Supreme Court defined the “‘[e]lements’” relevant under the

       categorical approach as the “‘constituent parts’ of a crime’s legal definition”—i.e.,

       “the things the ‘prosecution must prove to sustain a conviction.’” 136 S. Ct. at 2248

       (quoting Black’s Law Dictionary 634 (10th ed. 2014)). As explained above, in a

       prosecution for the aggravated version of RICO conspiracy, those “elements” include,

       in addition to the usual elements of RICO conspiracy, the specific racketeering

       activity—itself either a federal or state crime—that the indictment charges as the

       trigger for the enhanced penalties. Supra at 38-40. Without a jury finding as to that

       racketeering activity, no enhanced statutory maximum could be imposed under

       Apprendi.

             For violations of an aggravated form of RICO, in other words, the relevant

       “elements” for determining whether the RICO offense qualifies as a crime of violence

       are those elements of the predicate racketeering activity that the defendant is charged

       with having committed and that the jury was required to find beyond a reasonable

       doubt in order to increase the statutory maximum—here, first-degree murder in

       violation of Virginia law. The fact that other defendants might conceivably receive

       the same sentencing enhancement based on the commission of different crimes does

       not change the fact that the jury in this case was required to find the elements of the



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       specific offenses with which Simmons and Mitchell were charged—here, actual

       murders. See Mathis, 136 S. Ct. at 2248 (explaining that the categorical approach

       focuses on “the elements of the crime of conviction” that “the jury must find beyond a

       reasonable doubt to convict the defendant” or increase his maximum punishment); see

       also JA 6313–31 (special verdict form indicating that jury found, unanimously and

       beyond a reasonable doubt, that defendants committed murders as an element of their

       aggravated RICO offenses).      No authority supports the district court’s contrary

       suggestion that, because defendants who commit different offenses with different

       elements might also receive an enhanced sentence under § 1963(a), the elements of the

       specific crimes charged and proved in this case should be disregarded.

             Even if this Court were to adopt the taxonomy of the categorical approach in

       analyzing Defendants’ convictions for an aggravated form of RICO conspiracy,

       however, the result would be the same. By incorporating multiple potential offenses

       as racketeering activity, each with different elements that must be proved beyond a

       reasonable doubt, the RICO statute is “divisible” as to the penalty-enhancing

       racketeering activity. See Mathis, 136 S. Ct. at 2249. A divisible statute “define[s]

       multiple crimes” by incorporating alternative sets of elements, each of which

       constitutes a violation of the statute. Id. at 2249. In a RICO case, the indictment and

       jury verdict (or guilty plea) identify the relevant racketeering activity that must be

       proved, and thus identify which divisible alternative crimes the defendant has



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       committed for purposes of applying the categorical approach. See United States v.

       Williams, 898 F.3d 323, 333 (3d Cir. 2018), cert. denied, 139 S. Ct. 1351 (2019). Here,

       that racketeering activity is first-degree murder in violation of Virginia law. JA 177–

       78, 6313–14, 6321–22. Because first-degree murder under Virginia law has as an

       element the use, attempted use, or threatened use of physical force, see Mathis, 932

       F.3d at 265, the Defendants’ commission of an aggravated form of RICO, for which

       they were charged and convicted, necessarily required proof of that element and thus

       constituted a crime of violence under 18 U.S.C. § 924(c)(3)(A).

             The district court’s remaining concern—i.e. that RICO conspiracy does not

       qualify as a crime of violence because it “does not require an overt act,” JA 6364—is

       equally unavailing. As explained above, Simmons’ and Mitchell’s RICO violations

       qualify because Simmons and Mitchell were each convicted of an aggravated form of

       RICO conspiracy that required the government to prove their participation in

       completed first-degree murders in violation of Virginia law. It is those aggravating

       elements—not any aspect of non-aggravated RICO conspiracy—that made Simmons’

       and Mitchell’s RICO conspiracy offenses “crime[s] of violence” under § 924(c)(3)(A).

       The government did not just charge and prove that the Defendants conspired to commit

       the murders—it charged and proved that they committed the murders as part of the

       conspiracy. The absence of an overt act requirement in the general RICO conspiracy

       statute is, therefore, beside the point.



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                                        CONCLUSION

              The district court’s order dismissing Count 30 as to Simmons and Mitchell

        should be reversed, and this case should be remanded for resentencing.

                                               Respectfully submitted,

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                        STATEMENT WITH RESPECT TO ORAL ARGUMENT

              The United States respectfully suggests that oral argument would be helpful in

        this case, which presents an issue of first impression.




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                                CERTIFICATE OF COMPLIANCE

               I certify that I wrote this brief using 14-point Times New Roman typeface and

        Microsoft Word 2016.

               I further certify that this brief does not exceed 13,000 words (and is

        specifically 11,323 words) as counted by Microsoft Word, excluding the table of

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               I understand that a material misrepresentation can result in the Court’s striking

        the brief and imposing sanctions.

                                                             /s/
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                                   CERTIFICATE OF SERVICE


               I certify that on November 1, 2019, I filed electronically the foregoing brief

         with the Clerk of the Court using the CM/ECF system, which will send notice of

         the filing to counsel of record for the appellant, who are registered users of the

         system.

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